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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Ahold Delhaize USA, Inc.
                                       Plaintiff,
v.                                                      Case No.: 1:18−cv−05351
                                                        Honorable Thomas M. Durkin
Koch Foods, Incorporated, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 14, 2019:


       MINUTE entry before the Honorable Thomas M. Durkin:Civil case terminated.
Mailed notice(srn, )




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